Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 1 of 23




                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


  Civil Action No.: 20CV02702


  KATELYN SCHILLER,

             Plaintiff;

  v.

  COLORADO STATE UNIVERSITY;

  SPECTRA;

  KARLA LEWIS;

  MICHAEL BEST; and

  SCOTT SCHELL;

             Defendant(s).



                               COMPLAINT AND JURY DEMAND



          COMES NOW Plaintiff, by and through undersigned counsel, Baumgartner Law, L.L.C.,

  and hereby respectfully submits this Complaint against the Defendants and allege and aver as

  follows:



                                  I. JURISDICTION AND VENUE



       1. This action is brought pursuant to the Fourteenth Amendment to the United States

          Constitution, 42 U.S.C. § 1983; 42 U.S.C. § 1988; 20 U.S.C. § 1681-1688 (Title IX of
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 2 of 23




       the Education Amendments of 1972); 42 U.S.C. § 2000e (Title VII of the Civil Rights

       Act of 1964); and 29 U.S.C. 701 and 794 (Section 504 of the Rehabilitation Act of 1973).

       Jurisdiction is founded upon 28 U.S.C. § 1331, §1343(a)(3) and (4) and the

       aforementioned statutory and constitutional provisions.



    2. Venue is proper in the United States District Court for the District of Colorado pursuant

       to 28 U.S.C. §1391(b) because the Defendants are citizens and residents of Colorado, and

       the events, acts, and/or omissions giving rise to this action occurred in Colorado.



                                           II. PARTIES



    3. Plaintiff, Katelyn Schiller (“Plaintiff”), is and was at all relevant times a resident of the

       State of Colorado residing in Fort Collins, Colorado.



    4. Defendant Colorado State University is a public university located in Fort Collins,

       Colorado and receives federal financial assistance within the meaning of 20 U.S.C. §

       1681-1688.



    5. Defendant Spectra (“Spectra”) is a Pennsylvania-based entertainment company. Spectra

       is principally owned by Comcast Spectacor, a Pennsylvania-based corporation licensed to

       transact business in the State of Colorado with its principal place of business address as

       3601 South Broad Street, Philadelphia, Pennsylvania 19148. Spectra provides food and

       drink services to Colorado State University at its football stadium.
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 3 of 23




    6. Defendant Michael Best (“Best”) is and was at all relevant times a resident of the State of

       Colorado residing at 10227 Hexton Court, Lone Tree, Colorado 80124.



    7. Defendant Scott Schell (“Schell”) is and was at all relevant times a resident of the State

       of Colorado residing at 4448 Cedarpoint Place, Highlands Ranch, Colorado 80130.



    8. Defendant Karla Lewis (“Lewis”) is and was at all relevant times a resident of the State

       of Colorado residing at 1729 Matthews Street, Fort Collins, Colorado 80525. At all

       relevant times hereto, Defendant Lewis was acting within the course and scope of her

       employment as a Manager of Spectra.



                                III. GENERAL ALLEGATIONS



    9. At the time of the incidents subject to this complaint, Plaintiff was a 19-year-old

       undergraduate student at Colorado State University, who was working for Spectra part

       time as a server at CSU football games.



    10. Plaintiff was assigned to serve the high-value, financially well-off patrons who watched

       the CSU football games from “loge boxes,” which are outdoor private seating areas with

       controlled access. This server position was desirable because Plaintiff earned most of her

       income from tips, and because she was able to interact with successful members of the

       community, many of whom were CSU alumni.
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 4 of 23




    11. On September 5, 2019, Plaintiff was working for Defendant Spectra as a server in a loge

       box that had been reserved for the season by successful CSU alumni, Defendant Michael

       Best, and his wife, Susie Wargin. During this and subsequent games, the couple invited

       friends to sit in the area to watch the games with them.



    12. On September 5, 2019 during the course of the football game, Defendant Michael Best

       grabbed Plaintiff several times, including grabbing her by the extreme upper thigh

       immediately adjacent to her vagina, causing her bruises. In addition, Defendant Best, who

       was highly intoxicated at the time of this interaction, dragged Plaintiff around the box,

       calling her and her co-worker “bitch.” Defendant Best’s inappropriate sexual advances

       and physical assaults were non-consensual. His use of profanity while doing so caused

       Plaintiff to be intimidated and scared.



    13. Immediately after this incident, Plaintiff informed her employer, Defendant Spectra,

       about the unwanted sexual touching, sexual harassment, and assaults that were occurring

       in the private seating area. Although Defendant Spectra acknowledged the complaint, no

       action was taken to remedy the complaints, or to prevent future incidents.



    14. Plaintiff also learned that Defendant Best and the guests at his loge box had committed

       similar acts against other young girls at football games in the past, and that no action had

       been taken by Defendant Spectra or Defendant CSU.
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 5 of 23




    15. On September 21, 2019, Plaintiff was again assigned to serve Defendant Best’s private

       box. Once again, Defendant Best became highly intoxicated and began touching

       Plaintiff’s body in an aggressive and sexual manner close to her private parts. Defendant

       Best’s inappropriate sexual advances and assaults were non-consensual.



    16. Plaintiff immediately notified her supervisor of the unwanted sexual touching and sexual

       harassment. No action was taken by Plaintiff’s employer to prevent further sexual

       harassment by Defendant Best.



    17. On October 5, 2019, Plaintiff was once again assigned to serve Defendant Best’s private

       box during a CSU football game despite her repeated complaints. Once again, Defendant

       Best became intoxicated and began touching Plaintiff in a sexual manner. Defendant

       Best’s inappropriate sexual advances and physical touching were non-consensual.



    18. At the same football game, Defendant Schell, who was a guest in Defendant Best’s

       private box and who was also highly intoxicated at the time, began touching Plaintiff in a

       sexual manner, caressing her hips, touching her inner thigh, putting his hands in

       Plaintiff’s pockets and reaching his fingers into Plaintiff’s pubic area directly above her

       vagina.



    19. In addition, Defendant Schell grabbed Plaintiff by the back of her neck and directed her

       around the private box.
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 6 of 23




    20. Immediately after the October 5, 2019 incident, Plaintiff again informed her employer,

       Defendant Spectra, of the unwanted sexual advances and harassment by both men.

       Defendant Spectra did not attempt to extricate Plaintiff from this unwanted and

       dangerous situation, instead allowing Defendants Best and Schell to continue groping

       Plaintiff throughout the rest of the October 5, 2019 football game.



    21. On October 23, 2019 Plaintiff attended a meeting with Defendant Spectra, CSU Deputy

       Athletics Director, Steve Cottingham and Defendant Lewis regarding the continued

       sexual assaults and harassment occurring at work and on the premises of Colorado State

       University.



    22. At this meeting, Defendant Spectra, through Defendant Lewis, stated that it was very well

       aware of the sexual assault and harassment reported by Plaintiff, including the specific

       previous instances mentioned herein.



    23. On October 30, 2019, Plaintiff attended a second meeting with Defendant CSU,

       Defendant Spectra, Defendant Lewis and Steve Cottingham. At this meeting, Plaintiff

       learned that Steve Cottingham and Defendant Lewis had already decided that Defendant

       Spectra would continue serving alcohol to Defendant Best and his guests. In fact,

       Plaintiff learned that Defendant Best was going to be upgraded from a “loge box” to a

       Presidential Suite for future football games.
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 7 of 23




    24. At this meeting, Steve Cottingham stated to Plaintiff that nobody with Defendant Best’s

       “sort of financial commitment” to the university had ever been “sanctioned” like that

       before.



    25. After the October 30, 2019 meeting, Plaintiff sent an email to Defendants Spectra and

       CSU expressing her shock and anger not only that Defendants Spectra and CSU would

       continue to serve Defendant Best alcohol at future CSU football games, but that

       Defendant Best would actually be rewarded with an upgraded private seating area to

       watch games from.



    26. When Defendant Best’s wife, Susie Wargin, learned of the assaults committed by her

       husband and their friends, and the complaints made by Plaintiff, Ms. Wargin immediately

       began to use financial pressure to force the University to take illegal retaliatory action,

       which it eventually did take.



    27. On October 30, 2019, Susie Wargin sent an email to Steve Cottingham and the CSU

       Athletics Director, David Crum. Ms. Wargin expressed anger that Plaintiff was not

       removed immediately from her employment due to her complaint. She went on to write,

       “I write a lot of checks to Athletics and the University. We have been nothing but stand

       up alums and supporters for decades.” She continued, “I know you have a lot on your

       plate. We are one of many items, however we are also friends.”
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 8 of 23




    28. At one point after the complaints were made to the University, Defendant Lewis

       approached Plaintiff about the several incidents and stated that “it was [the university’s]

       decision to do whatever they are going to do with [Defendant Best].”



    29. On October 31, 2019, Plaintiff sent an email to Defendant CSU, Defendant Spectra,

       Defendant Lewis and Steve Cottingham expressing her shock and anger that Defendant

       Best would not be punished or removed from the football stadium, that he would

       continue to be served alcohol, that Plaintiff would continue to have to serve him and his

       guests, and that Defendant Best and Susie Wargin would be rewarded with an upgraded

       private box instead of receiving some kind of discipline.



    30. Subsequently, Defendant Lewis informed Plaintiff that she had discussed the situation

       with Steve Cottingham, and it had been decided that Plaintiff could continue to work for

       Defendant Spectra, but she would be demoted to a lesser position with significantly less

       ability to earn income. Specifically, Defendant Lewis informed Plaintiff that she would

       have to work in the “pantry” stocking the items she previously served to guests and

       assisting servers. She would no longer interact with guests or her friends who also

       worked as servers, and she would no longer receive tips. This decision was made by

       Defendant Lewis, Defendant Spectra and Steve Cottingham together.



    31. Plaintiff resigned her position with Defendant Spectra as a result of her constructive

       termination rather than being reassigned to a significantly lesser role where she would

       earn less income.
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 9 of 23




    32. The decision to demote Plaintiff to a lesser position within the organization amounts to a

       constructive termination because the demotion by Defendant Spectra and Defendant

       Lewis would lead any reasonable person to believe that her tenure has been terminated.



    33. The CSU Police Department was contacted regarding the above incidents of sexual

       assault and harassment. A criminal investigation was initiated by the Colorado State

       University Police Department and Detective Sean Fitzpatrick was assigned to investigate

       the case.



    34. After the investigation, the criminal case was presented to the District Attorney for the

       Eighth Judicial District, Amanda Duhon, for a felony filing decision. The matter was

       screened on two separate occasions.



    35. District Attorney Duhon stated that “the SVU team unanimously felt that while we do

       find the victim credible and that she was subjected to unwanted sexual contact, we do not

       believe the case can be proven beyond a reasonable doubt if the case was filed and

       proceeded to trial.”



    36. District Attorney Duhon stated that the reason a conviction was not likely was because

       there was a delay between the dates of the offense and the reporting of the incidents to

       CSUPD. In addition, District Attorney Duhon stated that “despite the fact that the

       athletics department was aware of the complaint, any possible video of the incidents had
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 10 of 23




         not been retained.” District Attorney Duhon went on to state that surveillance video

         footage could have helped to secure a conviction against Defendant Best, but the

         evidence was destroyed by CSU Athletics. Finally, District Attorney Duhon states that “if

         the incidents were reported to CSUPD promptly” by CSU Athletics, it is possible the case

         could have been prosecuted.



     37. Based on this statement, it is clear that CSU Athletics, in coordination with Defendant

         Spectra, Defendant Best, and Susie Wargin, destroyed the crucial video evidence of the

         assaults.



     38. As a result of the harassment, assaults, and the retaliation by Defendant Best, Ms.

         Wargin, Defendant Spectra, Defendant Lewis, Mr. Cottingham, and Defendant CSU, Ms.

         Schiller had to postpone her academic pursuits, including missing classes, missing a

         study-abroad semester, and completion of courses. She had to seek psychological

         counseling. She has been denied other academic advancements, including an internship

         with the District Attorney’s Office. She has experienced severe psychological distress

         that has manifest itself in painful physical symptoms.



                                    IV. CLAIMS FOR RELIEF

                                       First Claim for Relief

  (Deliberate Indifference to Sexual Harassment in Violation of Title IX of the Education

                     Amendments of 1972 – Against Defendant CSU Athletics)
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 11 of 23




     39. Plaintiff incorporates by reference herein all preceding allegations set forth in this

        Complaint.



     40. Prior to filing this action, Plaintiff timely, properly and lawfully exhausted all

        administrative prerequisites, procedures and remedies.



     41. A plaintiff must allege four factors to state a claim of school district liability under Title

        IX. She must allege that the district (1) had actual knowledge of, and (2) was deliberately

        indifferent to (3) harassment that was so severe, pervasive, and objectively offensive that

        it (4) deprived the victim of access to the educational benefits or opportunities provided

        by the school. Murrell v. Sch. Dist. No. 1, Denver, Colo., 186 F.3d 1238, 1246 (10th Cir.

        1999) (citing Davis v. Monroe Cnty. Bd. of Educ., 526 U.S. 629, 638 (1999).



     42. Title IX reaches institutions and programs that receive federal funds, 20 U.S.C. §

        1681(a).



     43. Plaintiff is a student at Colorado State University. Plaintiff, as a female, is a member of a

        protected class that has been historically an object of invidious discrimination.



     44. Defendant CSU, through its Deputy Athletics Director, and possibly also through the

        CSU General Counsel’s Office was at all relevant times acting under the color of state

        law. CSU Athletics is a department within Colorado State University, which itself is a

        subdivision of the State of Colorado.
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 12 of 23




     45. Since September 5, 2019, Defendant CSU had actual knowledge of, and had been

        deliberately indifferent to, repeated reports of sexual assault and harassment against

        Plaintiff by CSU “friends” and active alumni and heavy financial supporters.



     46. As a direct and proximate result of Defendant CSU’s deliberate indifference, Plaintiff

        was subjected to repeated sexual assault, sexual harassment, employment discrimination

        and retaliation.



     47. The sexual assault, sexual harassment, discrimination and retaliation against Plaintiff

        resulted in loss of academic opportunity, as set forth above, and severe and ongoing

        emotional distress and mental anguish to Plaintiff. This emotional distress has had serious

        physical manifestations.



     48. Defendant CSU’s failure to take any action, whatsoever, at the appropriate time to stop

        the ongoing sexual assault and harassment, despite their obligation to do so, was clearly

        unreasonable in light of the known facts and circumstances.



     49. Plaintiff was subjected to gender-based discrimination that was so severe, pervasive and

        objectively offensive that she was denied access to educational opportunities and

        benefits. To put it bluntly, Defendant CSU and Steve Cottingham elected to protect and

        shelter men who sexually assault and harass women rather than protecting and sheltering

        one of its own students. They did this for financial benefit.
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 13 of 23




     50. In addition, Defendant CSU and Mr. Cottingham’s failure to preserve and/or report the

        incidents of sexual assault and harassment to CSU police resulted in the District

        Attorney’s decision to not file charges against Defendant Best and Defendant Schell.

        Defendant CSU Athletics’ decision to destroy video evidence of the assaults is a

        reprehensible reaction intended to shield its financial donors from accountability and to

        allow future illegal actions against other young female students.



     51. Plaintiff continues to suffer from considerable anxiety and emotional distress regarding

        her experience, safety and well-being.



     52. Plaintiff’s rights to attend classes, advance in, and graduate from her chosen educational

        institution have been violated.



     53. Plaintiff has suffered significant injuries and damages as a result of Defendant CSU’s and

        Steve Cottingham’s deliberate indifference to its Title IX obligations.



     54. Defendants’ conduct was the actual and proximate cause of Plaintiff’s claimed injuries,

        damages and losses.



                                     Second Claim for Relief

      (Retaliation for Complaint of Sex Discrimination in Violation of Title IX – Against

                                    Defendant CSU Athletics)
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 14 of 23




     55. Plaintiff incorporates by reference herein all preceding allegations set forth in this

        Complaint.

     56. The Elements of a Title IX retaliation claim are: (1) protected participation or opposition

        under Title IX known by alleged retaliator; (2) action or actions disadvantaging persons

        engaged in protected activities; and (3) causal connection between first two elements, that

        is, retaliatory motive playing part in adverse actions.



     57. Since September 5, 2019, Defendants have had actual knowledge of, and have been

        deliberately indifferent to, repeated reports of sexual assault and harassment against

        Plaintiff.



     58. When Plaintiff reported the sexual assault Defendant CSU Athletics, Steve Cottingham

        took no protective action whatsoever.



     59. After Defendant CSU Athletics knew of the sexual assaults, it deleted the video

        recordings of the assaults, coordinated with Defendant Best and Susie Wargin, and

        Defendant Spectra to attempt to silence Plaintiff. It did not report the sexual assault to

        police or the District Attorney’s office. Mr. Cottingham directed Defendant Spectra to

        demote Ms. Schiller. Mr. Cottingham also rewarded Defendant Best by giving him a

        Presidential Suite. Mr. Cottingham also discouraged Plaintiff from reporting multiple

        sexual assaults to the police. Mr. Cottingham used his position of authority at the
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 15 of 23




        University to intimidate Plaintiff into silence and to force her out of her position as a

        server. Mr. Cottingham did this for financial gain.



     60. Defendant CSU and Mr. Cottingham’s retaliation was directed by Defendant Best and

        Susie Wargin and was a calculated attempt to silence Plaintiff.



     61. Mr. Cottingham exploited his position of trust with Plaintiff to keep her quiet and then to

        terminate her from employment.



     62. Mr. Cottingham intentionally exploited a 19-year-old girl for the sexual gratification of

        financial donors to the football program. Plaintiff is just the latest victim of Defendant

        Best, Mr. Cottingham, and Defendant CSU.



     63. Plaintiff made complaints about the sexual assaults, and when she refused to accept Mr.

        Cottingham’s approval of Defendant Best’s groping, she was punished severely through

        removal and prohibition from areas of the football stadium, denial of access to law

        enforcement and to the Title IX office, and denial of job opportunities and constructive

        termination from CSU vendors, namely Defendant Spectra.



     64. Defendant CSU’s actions through Mr. Cottingham, and likely the General Counsel’s

        Office, were intended punish Plaintiff for complaining about sexual assaults by a

        financial donor.
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 16 of 23




     65. In fact, Plaintiff was one of several young girls punished for interfering with a well-

         established practice of Defendant Best and Susie Wargin paying the University for the

         right to molest young undergraduates. Defendant Spectra and Mr. Cottingham had

         suppressed other similar complaints before Plaintiff’s. Plaintiff is simply the only

         working undergraduate to hire attorneys. Mr. Cottingham’s actions were long-standing,

         calculated, and intentional.



     66. Defendants’ conduct was the actual and proximate cause of Plaintiff’s claimed injuries,

         damages and losses.



                                        Third Claim for Relief

   (Discrimination on the Basis of Sex in Violation of Title VII of the Civil Rights Act of 1964

                       – Against Defendant Spectra and Defendant Lewis)



     67. Plaintiff incorporates by reference herein all preceding allegations set forth in this

         Complaint.



     68. Prior to filing this action, Plaintiff timely, properly and lawfully exhausted all

         administrative prerequisites, procedures and remedies.



     69. Defendants Best, Spectra and Lewis engaged in unlawful, intentional and willful

         discrimination against Plaintiff on the basis of sex. Defendant Best repeatedly sexually

         assaulted Plaintiff and Defendants Spectra and Lewis intentionally put her back into the
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 17 of 23




        same situation with him. Defendant Lewis and Defendant Spectra knew of the sexual

        assaults, consulted with Defendant CSU Athletics, and then intentionally offered Plaintiff

        up to Defendant Best and his rich friends for more sexual assault and harassment.

        Plaintiff was just the latest of the young girls Defendant Spectra offered to Defendant

        Best before demoting or constructively terminating them. Defendant Spectra and

        Defendant Lewis’s actions were long-standing, calculated, and intentional.



     70. Title VII prohibits a covered employer from discriminating against or discharging “any

        individual with respect to compensation, terms, conditions, or privileges of employment,

        because of such individual's…sex.” 42 U.S.C. § 2000e-2(a)(1). Title VII also prohibits a

        covered employer from limiting, segregating, or classifying any employee in way which

        would deprive or tend to deprive any individual or employment opportunities, or

        otherwise adversely affect her status as an employee, because of such individual’s sex. 42

        U.S.C. § 2000e-2(a)(2).



     71. At the time that Defendants Spectra and Lewis engaged in discriminatory actions against

        Plaintiff, Plaintiff was a member of a Title VII protected class because she is a woman.

        Defendants were aware that Plaintiff was a member of a protected class at the time that

        she was hired.



     72. Defendants Spectra and Lewis discriminated against Plaintiff based on her membership

        in a protected class (women). Specifically, Defendants Spectra and Lewis failed to take

        any action to prevent further instances of sexual assault and harassment, even after both
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 18 of 23




        Defendants were made aware of the pervasive sexual harassment and assault. Defendants

        failed to take action against customers who were sexually assaulting Plaintiff because

        they benefitted financially from the harassment. In addition, Defendants Spectra and

        Lewis demoted Plaintiff to a lesser position within the organization where Plaintiff would

        not earn nearly as much income as she was earning as a server. Ultimately, Plaintiff’s

        treatment by Defendants Spectra and Lewis resulted in Plaintiff’s constructive

        termination from her position.



     73. Defendant Spectra and Defendant Lewis’s aforementioned treatment of Plaintiff

        constitutes intentional, unlawful sexual discrimination in violation of 42 U.S.C. § 2000e-

        2(a)(1).



     74. Defendants’ conduct was the actual and proximate cause of Plaintiff’s claimed injuries,

        damages and losses.



                                      Fourth Claim for Relief

             (Retaliation in Violation of Title VII of the Civil Rights Act of 1964 –

                        Against Defendant Spectra and Defendant Lewis)




     75. Plaintiff incorporates by reference herein all preceding allegations set forth in this

        Complaint.
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 19 of 23




     76. Prior to filing this action, Plaintiff timely, properly and lawfully exhausted all

         administrative prerequisites, procedures and remedies.



     77. To state a viable claim for retaliation, a plaintiff must first establish that he or she

         opposed an unlawful employment practice. 42 U.S.C. § 2000e-3(a).



     78. Pursuant to Title VII et seq., Defendant Spectra and Defendant Lewis were specifically

         prohibited from retaliation against Plaintiff because of her opposition to conduct that was

         prohibited by Title VII.



     79. Defendant Spectra and Defendant Lewis engaged in conduct that was prohibited by Title

         VII when they failed to take any action to prevent further instances of sexual assault and

         harassment and demoted Plaintiff to a lesser position within Spectra.



     80. Plaintiff expressed her opposition to Defendant Spectra and Defendant Lewis’s conduct

         in an email following the October 30, 2019 meeting with Defendants. As previously

         stated, Plaintiff sent an email to Defendants Spectra and CSU expressing her shock and

         anger not only that Spectra and CSU Athletics would continue to serve Defendant Best

         alcohol at future CSU football games, but that Defendant Best would actually be

         rewarded with an upgraded private seating area to watch games from.



     81. At all times relevant hereto, Defendants Spectra and Lewis were fully aware of Plaintiff’s

         Title VII activities.
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 20 of 23




     82. Defendants Spectra and Lewis demoted Ms. Schiller and constructively discharged her

        because of her complaints.



     83. There is a direct causal connection between Plaintiff’s protected activities and the

        unlawful, materially adverse employment action. In addition, there is sufficient temporal

        proximity between Plaintiff’s protected activities and her termination.



     84. Defendants Spectra and Lewis engaged in unlawful, direct, intentional, adverse,

        retaliatory and discriminatory employment actions prohibited by Title VII against

        Plaintiff because of her protected Title VII activities as specifically described in this

        Complaint.



     85. This intentional, unlawful retaliation was created, perpetrated, and/or tolerated by

        Defendants’ officials, managers and employees.



     86. Defendant Spectra and Defendant Lewis’ treatment of Plaintiff constitutes unlawful and

        intentional retaliation and discrimination in violation of 42 U.S.C. § 2000e-3(a).



                                       Fifth Claim for Relief

             (Assault and Battery – Against Defendant Best and Defendant Schell)
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 21 of 23




     87. Plaintiff incorporates by reference herein all preceding allegations set forth in this

        Complaint.



     88. Since September 5, 2019 and through October 5, 2019, Defendant Best has been engaged

        in a pattern of sexual assault and harassment, including aggressive physical touching on

        or near Plaintiff’s private body parts and threatening verbal statements and harassment.



     89. On October 5, 2019, Defendant Schell engaged in sexual assault and harassment against

        Plaintiff, including aggressive physical touching on or near Plaintiff’s private body parts

        and threatening verbal statements and harassment.



     90. During these incidents, Defendants Best and Schell intended to cause harmful physical

        contact with Plaintiff and actually did cause harmful physical contact with Plaintiff.



     91. In addition, Defendants Best and Schell intended to place Plaintiff in fear of offensive or

        harmful physical contact during these incidents.



     92. As a direct and proximate result of Defendants’ actions, Plaintiff has suffered damages in

        the form of past, present and future emotional distress, humiliation, embarrassment, and

        great mental pain and suffering. Plaintiff also suffered damages in the form of loss of

        income, and past, present and future medical expenses.



                                        Sixth Claim for Relief
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 22 of 23




                (Sexual Assault – Against Defendant Best and Defendant Schell)



     93. Plaintiff incorporates by reference herein all preceding allegations set forth in this

        Complaint.



     94. Since September 5, 2019 and through October 5, 2019, Defendant Best has been engaged

        in a pattern of sexual assault and harassment, including aggressive physical touching on

        or near Plaintiff’s private body parts and threatening verbal statements and harassment.



     95. On October 5, 2019, Defendant Schell engaged in sexual assault and harassment against

        Plaintiff, including aggressive physical touching on or near Plaintiff’s private body parts

        and threatening verbal statements and harassment.



     96. During these incidents, Defendant Best and Defendant Schell intentionally engaged in

        offensive sexual contact or abuse against Plaintiff.



     97. In addition, Defendant Best and Defendant Schell, through their conduct, caused a

        reasonable apprehension of offensive sexual contact in Plaintiff.



     98. As a direct and proximate result of Defendants’ actions, Plaintiff has suffered damages in

        the form of past, present and future emotional distress, humiliation, embarrassment, and

        great mental pain and suffering. Plaintiff also suffered damages in the form of loss of

        income, and past, present and future medical expenses.
Case 1:20-cv-02702-RM-SKC Document 1 Filed 09/04/20 USDC Colorado Page 23 of 23




        Respectfully submitted on this 4th day of September 2020.


                                                     s/ Sean M. Simeson
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